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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7
                                        OKLAHOMA POLICE PENSION &
                                   8    RETIREMENT SYSTEM,                                 Case No. 5:15-cv-05549-EJD

                                   9                   Plaintiff,                          ORDER GRANTING PLAINTIFFS’
                                                                                           MOTIONS TO REMAND
                                  10            v.
                                  11    SIENTRA, INC., et al.,
                                  12             Defendants.
Northern District of California
 United States District Court




                                        ANGELO ALBANO, et al.,
                                  13                                                       Case No. 5:15-cv-05550-EJD
                                                       Plaintiff,
                                  14
                                                v.
                                  15
                                        SIENTRA, INC., et al.,
                                  16
                                                       Defendants.
                                  17
                                        HOWARD KLEIMAN,
                                  18                                                       Case No. 5:15-cv-05553-EJD
                                                       Plaintiff,
                                  19
                                                v.
                                  20
                                        SIENTRA, INC., et al.,
                                  21
                                                        Defendants.
                                  22

                                  23          In Young v. Pacific Biosciences of California, Inc., No. 5:11-cv-05668-EJD, 2012 U.S.
                                  24   Dist. LEXIS 33695, 2012 WL 851509 (N.D. Cal. Mar. 13, 2012), this court held that purported

                                  25   class actions asserting only violations §§ 11, 12(a)(2) and 15 of the Securities Act of 1933, 15

                                  26   U.S.C. §§ 77a et. seq. (the “1933 Act”), may not be removed from state court for two principal

                                  27   reasons. First, after looking to the United States Supreme Court’s decision in Kircher v. Putnam

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                                       Case No.: 5:15-cv-05549-EJD
                                       ORDER GRANTING PLAINTIFFS’ MOTIONS TO REMAND
                                           Case 5:15-cv-05549-EJD Document 40 Filed 05/20/16 Page 2 of 2




                                   1   Funds Trust, 547 U.S. 633 (2006), the court concluded that actions for violations of the 1933 Act

                                   2   are not “covered class actions” under 15 U.S.C. § 77p(b) and are therefore not rendered removable

                                   3   by 15 U.S.C. § 77p(c). Second, the court found based on the Ninth Circuit’s decision in Luther v.

                                   4   Countrywide Home Loans Servicing, LP, 533 F.3d 1031 (9th Cir. 2008), that such actions are in

                                   5   fact prohibited from removal under 15 U.S.C. § 77v.

                                   6           Citing to Young and the several subsequent opinions from this district that agree with it,

                                   7   each of the plaintiffs move to remand their respective actions for violations of the 1933 Act to San

                                   8   Mateo County Superior Court. Defendants oppose, but provide no persuasive basis for this court

                                   9   to revisit its decision from Young.
                                               Accordingly, the court finds that the cases captioned above “are not the type of covered
                                  10
                                       class actions capable of being removed pursuant to § 77p, and indeed are prohibited from removal
                                  11
                                       pursuant to § 77v.” Young, 2012 U.S. Dist. LEXIS 33695, at *11. As a consequence, Defendants
                                  12
Northern District of California
 United States District Court




                                       have not satisfied their burden to convincingly establish federal jurisdiction. See Gaus v. Miles,
                                  13
                                       Inc., 980 F.2d 564, 566 (9th Cir. 1992) (“The ‘strong presumption’ against removal jurisdiction
                                  14
                                       means that the defendant always has the burden of establishing that removal is proper.”); see also
                                  15
                                       Matheson v. Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003) (“Where doubt
                                  16
                                       regarding the right to removal exists, a case should be remanded to state court.”).
                                  17
                                               Plaintiffs’ motions to remand are therefore GRANTED, and the hearing scheduled for May
                                  18
                                       26, 2016, is VACATED. The Clerk shall remand these cases to San Mateo County Superior Court
                                  19
                                       and close the files.
                                  20

                                  21
                                               IT IS SO ORDERED.
                                  22
                                       Dated: May 20, 2016
                                  23
                                                                                        ______________________________________
                                  24                                                    EDWARD J. DAVILA
                                                                                        United States District Judge
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                                       Case No.: 5:15-cv-05549-EJD
                                       ORDER GRANTING PLAINTIFFS’ MOTIONS TO REMAND
